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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA                        §
                                                §
        v.                                      §      Criminal No. 18-CR-00356
                                                §
JOHN O. GREEN                                   §

       DEFENDANT’S MOTION FOR NEW TRIAL BASED ON NEW EVIDENCE

        TO THE HONORABLE COURT:

        COMES NOW, JOHN GREEN (“Defendant” or “Green”), through his attorneys of record,

and respectfully moves, pursuant to Rule 33 of the Federal Rules of Criminal Procedure, for a New

Trial and would show this Honorable Court the following:

                                        I. BACKGROUND

        John Green was convicted of Conspiracy to Defraud the United States based on actions

that were argued to have “impeded the government’s ability to collect taxes” that were allegedly

owed by his co-defendant, Thomas Selgas on January 15, 2020 (ECF 184). On February 17, 2020

Green filed a Motion for New Trial (ECF 210) that was denied on April 21, 2020 (ECF 230). Since

then new evidence has surfaced.

                                          II. ARGUMENT

        Rule 33 of the Federal Rules of Criminal Procedure provides in pertinent part, “(a)

Defendant’s Motion. Upon the defendant’s motion, the court may vacate any judgment and grant

a new trial if the interest of justice so requires….” Fed. R. Crim. P. 33(a). Accord United States

v. Bowen, 799 F.3d 336, 349 (5th Cir. 2015). In the interest of justice, for the reasons discussed

below, the Court should grant Green a new trial. See United States v. Powell, 955 F.2d 1206 (9th

Cir. 1991) (prejudicial trial error required reversal for a new trial).

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       The theory of the government’s case was that John Green was hiding money in his trust

account, that belonged to Thomas Selgas, to prevent the government from seizing it. Most of the

funds the government alleged it was trying to seize, unsuccessfully, were as a result of an alleged

tax bill against Thomas Selgas for calendar year 2005.

       On March 02, 2020, the United States Tax Court granted the “Motion to Dismiss for Lack

of Jurisdiction” because “no notice of deficiency or notice of determination was issued to

petitioners for taxable year 2005…” (one of the petitioners is Thomas Selgas). (See Attached

Order incorporated herein by reference, as Exhibit “A”). Obviously, this decision was not

available to Green for use in his January 2020 trial. The Order negates the Government’s case.

       Accordingly, since the government’s case was based on “notice of determination” as well

as “notice of deficiency” at the very least, a jury should be advised that neither was ever

issued. This evidence became available after the rendering of a verdict.

                                      III. CONCLUSION

       For the foregoing reasons, Green respectfully requests a new trial on the conspiracy count

against him.



Respectfully submitted on May 15, 2020.

                                             MINNS & ARNETT

                                             /s/ Michael Louis Minns
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                             CERTIFICATE OF CONFERENCE

       This is to certify that I have conferred with the Government about the merits of this

motion with the following results:


   •   The Government is opposed.

                                              /s/ Ashley Blair Arnett
                                              Ashley Blair Arnett




                                CERTIFICATE OF SERVICE

       This is to certify that on this the 15th day of May 2020, a true and correct copy of the above

and foregoing instrument was served upon all counsel of record.



                                              /s/ Ashley Blair Arnett
                                              Ashley Blair Arnett




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